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                                                                        October 31, 2020
           VIA ECF
           Hon. Edgardo Ramos
           United States District Judge
           Thurgood Marshall United States Courthouse
           40 Foley Square
           New York, NY 10007

                            Re:      Perez et al v. Sunflower Amsterdam LLC et al.; 18-cv-5875

           Dear Judge Ramos

                   My firm represents Plaintiffs in the above-captioned case. While preparing Order to Show

           Cause papers to file tomorrow, November 1, 2020, in accordance with the Court’s Order of

           October 2, 2020, I was advised by our IT specialist that our system was subject to a computer virus

           and I would no longer be able to use my work computer until the issue was resolved. While he is

           working to restore access, the undersigned currently does not have the ability to access the files

           necessary in order to comply with Your Honor’s order and does not know with certainty when

           access will be possible.

                   This is the third request for an extension of this nature. The first was requested due to

           counsel learning of the passing of plaintiff Ramiro Rojas Roman. The second was requested to

           allow time to determine whether Plaintiff Roman’s estate would pursue his claims. This third

           request is respectfully made for a very brief extension of one week in order to file the Order to

           Show Cause in order to rectify this very sudden and unexpected technological issue.

The request is GRANTED. Plaintiffs are
                                                       Respectfully Submitted,
instructed to move for a default by no
                                                              /s
later than November 9, 2020. SO                        Clela A. Errington, Esq.
ORDERED.                                               MICHAEL FAILLACE & ASSOCIATES, P.C.
                                                       Attorneys for Plaintiff


                 11/2/2020


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